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                        United States District Court
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION



JUDGE: Sean D. Jordan

COURT REPORTER:
Gayle Wear

COURTROOM DEPUTY:
Bonnie Sanford

STATE OF TEXAS, ET AL

v.                                                        Case No. 4:20cv957

GOOGLE, LLC


PLAINTIFF: Mark Lanier, Zeke DeRose, Trevor Young, Roger Alford,
           Jonathan Wilkerson, James Lloyd, Marc Collier

DEFENDANT: Paul Yetter, Mollie Bracewell, Robert McCallum, Eric Mahr

       This day came the parties and by their attorneys the following proceedings were
held before Judge Sean D. Jordan in Plano, Texas on 12/14/2023.

Discovery Hearing

8:04 am      The Court called the case, noting the appearance of counsel and parties.

8:08 am      The Court reviews the case and addresses the agenda of the hearing.

8:10 am      The discovery hearing begins. Mr. Lanier addresses the Court.

8:37 am      The Court and Mr. Lanier discuss a Special Master.

8:40 am      The Court and Mr. Mahr discuss a Special Master.

8:44 am      Mr. Mahr addresses the Court.

9:11 am      Mr. Lanier responds.

9:26 am      Mr. Mahr responds.
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9:28 am    The Court addresses Designated Record on Remand.

9:33 am     Court adjourned.
